        Case 6:20-cv-00580-ADA Document 154 Filed 03/02/23 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 WSOU INVESTMENTS, LLC D/B/A
 BRAZOS LICENSING AND
 DEVELOPMENT,
                                               Civil Action No. 6:20-cv-00580-ADA
               Plaintiff,
 v.

 GOOGLE, LLC,

               Defendant.

                     NOTICE OF CHANGE OF FIRM AND ADDRESS

       PLEASE TAKE NOTICE, that effective March 1, 2023, attorney Mark D. Siegmund is

moving from Steckler Wayne Cherry & Love PLLC to the law firm of Cherry Johnson Siegmund

James PLLC.

       All counsel are requested to send copies of future pleadings, orders, notices, and

correspondence to Mark D. Siegmund at the law firm of Cherry Johnson Siegmund James, PLLC.

Mr. Siegmund’s contact information is provided below:

                            Cherry Johnson Siegmund James, PLLC
                                  400 Austin Ave., 9th Floor
                                     Waco, Texas 76701
                                  Telephone: (254) 732-2242
                                  Facsimile: (866) 627-3509
                               Email: msiegmund@cjsjlaw.com
                                 Email: jharing@cjsjlaw.com
                                 Email: bperry@cjsjlaw.com
         Case 6:20-cv-00580-ADA Document 154 Filed 03/02/23 Page 2 of 2




                                             Respectfully submitted,

                                             CHERRY JOHNSON SIEGMUND JAMES, PLLC
                                             400 Austin Ave., 9th Floor
                                             Waco, Texas 76701
                                             Telephone: (254) 732-2242
                                             Facsimile: (866) 627-3509

                                     BY:     /s/ Mark D. Siegmund
                                             MARK D. SIEGMUND
                                             State Bar No. 24117055
                                             Email: msiegmund@cjsjlaw.com

                                             ATTORNEYS FOR PLAINTIFF
                                             WSOU INVESTMENTS, LLC D/B/A
                                             BRAZOS LICENSING AND DEVELOPMENT




                                CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing instrument was served or delivered electronically

via U.S. District Court [LIVE] – Document Filing System, to all counsel of record, on this the 2nd

day of March 2023.


                                                    /s/ Mark D. Siegmund
                                                    MARK D. SIEGMUND
